     Case 2:10-cr-00616-KJD-GWF       Document 109       Filed 06/24/13     Page 1 of 1




 1
 2
 3
 4
 5                             UNITED STATES DISTRICT COURT
 6                              FOR THE DISTRICT OF NEVADA
 7                                             ***
 8 UNITED STATES OF AMERICA,           )             Case No. 2:10-cr-00616-KJD-GWF-2
                                       )
 9             Plaintiff,              )
                                       )             ORDER
10 vs.                                 )
                                       )
11 DONALD EDWARD SABISCH,              )
                                       )
12             Defendant.              )
   ____________________________________)
13
14
15         The Defendant was Sentenced on Wednesday, June 19, 2013 to no Custody time in Prison.
16 For good cause showing the Court hereby Orders the PR Bond exonerated.
17
18 DATED this ____
               21st day of June, 2013

19                                            ____________________________
                                              KENT J. DAWSON
20                                            United States District Judge
21
22
23
24
25
26
27
28
